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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                  Filed: March 14, 2024

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                      Re: Case No. 24-5138, In re: Brian Manookian v. Jeanne Burton
                          Originating Case No. : 3:23-cv-00918 : 3:19-bk-07235

Dear Counsel,

Briefing in this case will be held in abeyance temporarily pending the resolution of appellate
jurisdiction. The briefing schedule issued 03/05/2024 is cancelled. When this outstanding matter
has been resolved, the clerk's office will issue a new briefing schedule or give the parties other
instructions.

                                                  Sincerely yours,

                                                  s/Sharday S. Swain
                                                  Case Manager
                                                  Direct Dial No. 513-564-7027
